Case 6:15-cv-02696-DDD-CBW Document 23-2 Filed 03/10/17 Page 1of6 PagelD#: 249

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

HALLMARK SPECIALTY CIVIL ACTION NO. 6:15-CV-02696
INSURANCE COMPANY
VERSUS CHIEF JUDGE DEE D. DRELL

JOHNSON’S CRANE INSPECTION
SERVICES, LLC and JEFFREY D.
JOHNSON

*
*
*
*
*
*
*
x

MAGISTRATE WHITEHURST

ke fee 2 oh oe fe 2s fe 2s es os fe oe abe he 2 at oe oe aie of ois oft oi fe fe of fe 0 a oft 2 oe 9k RC ee i 2 ie Ot oie a oe ae fe oft a aft fe ae of ae oft ale abe fe ake abe akc ok af af ae ae fe oie ake oe fe

AFFIDAVIT

STATEOF (a (horns

COUNTY OF _<Sha Dino

Bradley D. Closson, after being duly sworn, states:

iF I make this Affidavit in opposition to Hallmark Specialty Insurance Company’s
Motion for Summary Judgment. I am personally familiar with the facts stated in
this Affidavit, and I am competent to testify to them.

2 I am a graduate of the United States Naval Academy with a degree in Naval
Science which has been evaluated as comparable to a mechanical engineering
degree from a civilian institution. Attached as Exhibit “A is my curriculum vitae
which sets forth my education, training and experience in general engineering,
forensic engineering and forensic mechanical engineering as it pertains to the
design, construction, maintenance, inspection and use of cranes.

Bi I have been accepted by the court as an expert in the field of mechanical
engineering related to crane systems in the matter entitled Jose Palacios Perez, et
al vs. NES Equipment Services Corp., et al, bearing Docket No. 124136-H on the
docket of the 16" Judicial District Court, Iberia Parish, Louisiana.

4. I personally inspected the Terex Model No. RT450 crane with serial number
10880 referenced in Hallmark Specialty Insurance Company’s Motion for
Summary Judgment, and which was involved in the December 26, 2013 accident

in which Jose Palacios Perez was injured.

5. In addition to my inspection, I have been provided with, and reviewed,
photographs depicting the aforementioned crane’s condition on August 1, 2013.

{L.0432431.1}
Case 6:15-cv-02696-DDD-CBW Document 23-2 Filed 03/10/17 Page 2 of 6 PagelD #: 250

Based on my inspection of the incident crane and review of the aforementioned
photographs, it is my opinion that the aforementioned crane arrived at the Chart
Energy and Chemicals, Inc. facility referenced in Hallmark Specialty Insurance
Company’s Motion for Summary Judgment on August 1, 2013:

a. Without the A2B switch actuator outer-bearing installed.

In With “new looking” bolts and washers attaching the A2B cover.

C, With hammer and scrape marks on the exposed end of the A2B
actuator.

d. With a new A2B actuator weight chain attached and looped.

e. With the A2B cover front-end damaged.

f, With the auxiliary boom tip showing evidence of previous two
blocking events.

g. With wire rope lubrication marks on the outer cover of the A2B
switch.

h, With the A2B switch connecting electrical wire being displaced
and the wire shield cut.

a Without the damage to the operator control console’s laminate,

which exposed holes in the console panel’s sheet metal.

6. It is my opinion that the aforementioned crane A2B failed to function correctly
and Jose Palacios Perez was injured, in whole or in part, due to the uninstalled
A2B switch outer-bearing.

7. It is my opinion based upon my review of Jeffrey Johnson’s testimony, the
applicable regulations, safety codes and standards that Jeffrey Johnson and
Johnson Crane Inspection, LLC failed to properly inspect the A2B switch, verify
that the outer-bearing was properly installed and the A2B switch functioned
correctly, in the aforementioned crane, and that failure resulted in Jose Palacios

Perez’s bodily injury.
CRADLEY'D. CLOSSON
“é
Sworn to and subscribed before me this /? day of A arch , 2017.

en

77 NOTARY PUBLIC in and for b :
Cea G

the Couhty of dea 9 ‘So ,Stateof _ Ca&

Printed Name and ID #: "90 4 « B96
My Commission Expires: (- 22-20%

q OFFICIAL SEAL |
Py, RAYMOND R. SHAFA

Be) NOTARY PUBLIC- CALIFORNIA @

COMMISSION # 2091046 CC

SAN DIEGO COUNTY =

My Comm. Exp. November 22, 2018 |

 

{L0432431.1}
Case 6:15-cv-02696-DDD-CBW Document 23-2 Filed 03/10/17 Page 3 of 6 PagelD # 251

ee Duis Y a

 
  

fy th
[ * PORENSIC 1057 Calle Mesita
yf SERVICES a a ll
frera P: 619.737.9563
mee F: 619.737.9564
www.craftforensic.com
Curriculum Vitae of
Bradley D. Closson
EXPERIENCE
October 2004 - CRAFT Forensic Services, Bonita, CA
To Present President

* Provide material handling accident investigation, reconstruction and litigation services,

* Provide consultation, support and presentation services in the areas of material handling

management, equipment operation, new equipment evaluation and equipment-associated
personnel training issues.
Member, Board on Safety Codes and Standards of the American Society of Mechanical Engineers
(ASME), Vice-President from 2003 - 2006 overseeing the development of safety codes and
standards including the A17 on Elevators, B30 on Cranes and B56 on Forklifts and currently the
Chairman of the ASME Board on Hearings and Appeals and 2011 Recipient of the ASME
Dedicated Service Award.

* Member of the ASME B30 Safety Standard Committee for Cableways, Cranes, Derricks, Hoists,
Hooks, Jacks, and Slings and Vice Chairman from 2002 to 2008. This committee develops the
design, construction and operation safety criteria that are the basis for federal and state OSHA
regulations. Subcommittee Memberships include:

B380,.3 Construction Tower Cranes B30.7 Base Mounted Drum Hoists
B30.4 Portal, Tower and Pillar Cranes B30.8 Floating Cranes and Derricks
B30.23 Personnel Lifting Systems B380.28 Load Positioners

* Member of the United States Technical Advisory Group (TAG) to “ISO TC-—96”, the International
Standards Organization, standard development group addressing “Cranes”.

* Member of the ASME P30 Safety Standard Committee on Planning for the use of Cranes,
Derricks, Hoists, Cableways, Aerial Devices, and Lifting Accessories.

* Licensed as a State of California Crane Surveyor for all categories of cranes to August 2006.

* Member California OSHA Advisory Board on Crane, Rigging and Material Handling regulations.

September 92- N.A.C.B. Technical Services, Inc., San Diego, CA
September 04 Vice President, Various Corporations of the N.A.C.B. Group, Orlando, FL

* Performed inspections as mandated by Federal, State, Local and Industry regulations on all
categories of mobile cranes, overhead cranes, tower cranes, fixed cranes, aerial devices, industrial
trucks and rigging equipment.

* Provided consultation and support services in the areas of material handling management,
equipment operation, equipment associated personnel training and litigation activities.

* Provided material handling accident investigation and reconstruction services.

* Spoke at lifting industry professional development sessions and at scheduled classes on material
handling regulations and management, inspection, operation and rigging.

* Instructed at the University of California OSHA Institute. Courses included the Federal “Trainer
Course”, "Introductory Course" and the California “Mobile Crane Inspector".

* President of the Association of Crane and Rigging Professionals 1995 to1997.

* Participated on Federal OSHA’s Crane Workgroup reviewing the 29 CFR 1926, Construction
Crane standards and California OSHA's Advisory Committee on Cranes.
Participated on the National Commission for the Certification of Crane Operators (CCO) task force
that defined the National Crane Operator Certification criteria.

* Authorized as a 29 CFR 1919 Signatory Authority for the inspection of Floating Cranes and
Derricks, Shore Based Material Handling Equipment and Non-destructive Evaluation.

* [Licensed as a State of California Crane Surveyor for all categories of cranes. Member of the State
of California Advisory Board on crane related regulations.

* Approved as a State of Nevada Crane Inspector and Crane Operator Trainer.

* Certified as a Washington State Crane Inspector.

EXHIBIT A

 
Case 6:15-cv-02696-DDD-CBW Document 23-2 Filed 03/10/17 Page 4 of 6 PagelD #: 252

Curriculum Vitae of Bradley D. Closson 2 of 4

April 7

9- National Steel and Shipbuilding Company, San Diego, CA

July 92 Various shipbuilding design and management positions - 4/79 to 1/86

Cranes, Rigging and Transportation Department Manager - 2/86 to 7/92
Managed the daily operation, inspection and maintenance of:
Land Based Equipment

6 Portal Cranes 2 Truck Cranes 4 Hydraulic Boom Lift Trucks

6 Mobile Tower Cranes 3 Fixed Tower Cranes 40 Industrial Fork Trucks

4 Hydraulic Cranes 75 Overhead Cranes 7 Busses and Trucks

56 Carts and Trailers 1 Rigging Fabrication and Hoist Repair Facility

Water Borne Equipment

6 Floating Barges 2 Dry Docks 3 Tugboats 11 Mooring Berths
Developed, implemented and maintained inspection programs that monitored equipment condition
and scheduled necessary, and mandated, inspections and tests.
Personally monitored and performed the daily and weekly inspections of material handling
equipment and rigging components that supported the facilities 350-ton single lift capacity.
Personally performed regular inspections of all land and water borne equipment for material
condition, future maintenance needs and correct operational configurations.
Reviewed, approved and monitored repair activities associated with all material handling
equipment. Equipment included those listed above and 250-ton lifting beams, alloy steel chain
slings, fittings, nylon/Kevlar slings and all configurations of attachment hardware.
Performed design review of 15 new crane installations and numerous mobile-equipment purchases
to insure compliance with all applicable ANSI and OSHA requirements.
Performed calculation and application reviews on temporary floating crane applications to ensure
all potential safety issues were considered. Review included vessel structure and stability,
operational configuration limitations and crane limitations.
Performed acceptance inspections on nine new crane installations with capacities ranging from 1
ton to 35 tons. Crane configurations ranged from wall cranes to full gantries.
Performed pre-purchase inspections on two 180-ton mobile portal tower cranes to determine
structural and mechanical condition and design compliance with regulatory requirements.
Developed, implemented and maintained Equipment Operator Training and Certification
Programs to satisfy all requirements of Federal OSHA, California OSHA and American National
Standards B30 and B56 documents. Training programs covered crane operation, rigging skills and
practices and industrial truck operation. After implementation, I monitored all programs to
assure content and quality.
Monitored and directed the lift planning process for crane loads ranging from small size, high
value, loads to large size, high weight and volume loads to assure that all aspects of safe lift
planning and lifting practices were addressed and in compliance.
Performed as the Owners, On-Site Representative during the construction of a 620 foot, 25,400
ton, floating dry dock outfitted with 4 constant tension mooring winches, a 35 metric ton electric,
level luffing, portal crane and multiple deck mounted capstans. I personally monitored all aspects
of the dry dock construction, equipment installation, pre-operation inspection and operational
testing. Responsible for ensuring that all equipment met the requirements of the applicable
Federal Regulations and US Navy performance standards.
Performed as Ship Repair Manager for a U.S. Navy Destroyer. Personally inspected repair actions
on the ships davits, winches, windlasses, hoists, propulsion systems and hull structure.

June 67- United States Navy, Atlantic and Pacific Surface Forces

April 7

9 Surface Warfare Officer, US Naval Reserves - 4/79 to 6/81

Served on five surface ships and at four shore installations including a Navy Shipyard.

Served as Operations, Combat Information Center, Intelligence, Navigation and Legal Officer.
Qualified as a Surface Warfare, Tactical Action, Command Duty, Electronic Warfare, Navigation
Engineering Watch and Intelligence Officer.

Served as the Aide to the Commandant, Naval District Washington, DC.

Awarded the Navy Commendation Medal and numerous Letters of Commendation.

Achieved rank of Lieutenant Commander,
Case 6:15-cv-02696-DDD-CBW Document 23-2 Filed 03/10/17 Page 5 of 6 PagelD#: 253

Curriculum Vitae of Bradley D. Closson 3 of 4
EDUCATION
Mar 2007 Society of Automotive Engineers International
Wet Brake and Clutch Technology. Covered the design and _ operational

considerations regarding the mechanics of the systems and their friction materials.

May 2000 Bendix / Allied Signal
Air Brake System Design, Inspection and Operation. Covered the brake component
applications as well as inspection and safe operating practices for air brakes.

Mar 1994 Diablo Canyon Nuclear Power Plant, San Luis Obispo, CA
Nuclear Power Plant Safety Procedures and Practices.

Apr 1993 The Von Corporation, Birmingham, AL
Nondestructive Dielectric Testing Course. Covered the theory and practice of
performing dielectric tests on electrically insulating components and equipment.

May 1992 National Steel and Shipbuilding, San Diego, CA
Shipyard Competent Person Course. Covered confined space safety, chemical exposure
limits, inspection procedures and documentation requirements.

Feb 1991 National Steel and Shipbuilding, San Diego, CA
Scaffolding Safety and Inspection Course. Covered the safety and regulatory requirements
of scaffold structures as well as operational inspections.

May 1990 National Steel and Shipbuilding, San Diego, CA
High Reach Equipment Inspection and Operation Course. Covered the pre- operation
inspection and safe operating practices for equipment up to 80 feet in reach.

May 1988 Crane Inspection and Certification Bureau, Orlando, FL
Personnel Lifting Course. Covered Federal Requirements for the construction and use of
Crane Suspended Personnel Carriers.

Apr 1988 University of Wisconsin, Madison, WI
Overhead Crane Safety Course. Covered crane and building design considerations,
maintenance criteria and inspection procedures for Overhead Cranes.

Jan 1983 American Management Associations, New York, NY

Mar 1984 Management Course. Graduate level study in Corporate Management.

Sep 1976 Surface Warfare School, Newport, RI

Mar 1977 Graduate level study in Mechanics and Electronics.

Sep 1976 Surface Warfare School, Newport, RI

Mar 1977 Qualified Engineering Officer, 1200 psi Steam Propulsion Plant.

Sep 1971 Naval Training Command, Atlantic and Pacific

Aug 1977 Electronic Communication, Electronic Intelligence, Nuclear Weapons,
Oceanography, Shipboard Damage Control and Helicopter Operation Courses.

Jun 1975 U.S. Naval War College, Washington, DC

Jun 1976 Graduate level study in National Strategy and Policy.

Aug 1971 Naval Justice School, Newport, RI

Sep 1971 Qualified Navy Legal Officer, Non-JAG. Study in Military and Civilian Law.

Jun 1967 U.S. Naval Academy, Annapolis, MD

Jun 1971 BS in Naval Science. (Mechanical Engineering Equivalence)

MEMBERSHIPS
Member American Society of Mechanical Engineers (ASME)
Member American Society of Naval Engineers (ASNE)
Member American Society of Safety Engineers (ASSE)
Member Association of Crane and Rigging Professionals (ACRP)
Member Crane Certification Association of America (CCAA)
Member Society of Automotive Engineers (SAE)

Member Society of Naval Architects and Marine Engineers (SNAME)
Associate American Society of Civil Engineers (ASCE)
Case 6:15-cv-02696-DDD-CBW Document 23-2 Filed 03/10/17 Page 6 of 6 PagelD #: 254

Curriculum Vitae of Bradley D. Closson 4 of 4

PRESENTATIONS and PUBLICATIONS

2011
2010
2009

2009
2009
2008
2007
2007

2006

2006
2006
2005
2004
2004
2004
20038
2002
2001
2000
2000
2000
1999
1999
1999
1999
1998
1997
1997
1997
1997
1996
1995
1995
1994
1994
1998
1993
1993
1986-1992

1978-1979

Crane and Rigging Conference — Las Vegas — “Limiting Your Exposure in an Accident —
It’s the paperwork”,

Crane and Rigging Conference — Houston - “Crane Operation and Inspection Safety - It's
the little things".

NACB Profession Development Conference— “Crane Operation and Inspection Safety -
It's the little things".

Crane Certification Association of America, CCAA — “Invisible Hazards”.

“The Problem with De-Rating Cranes”, April - Crane Hotline

American Society of Safety Engineers - "Crane Safety - Platitudes or Practices".
American Petroleum Institute — “Polar Plotting for Accident Investigation”.

Association of Crane and Rigging Professionals, ACRP — “Polar Plotting for Planning
and Accident Investigation”.

Crane Certification Association of America, CCAA — “Post Accident Documentation”,
and “ASME / ANSI Crane Standards”,

U.S. Department of the Interior, MMS — “ASME Material Handling Standards”.

"Points to Remember when Lifting People", Cranes Today Magazine.

CON/AG EXPO — “Personnel Lifting Safety Requirements”.

NACB Profession Development Conference— “Wind and Ground Condition Hazards”.
CCAA Annual Convention— “Crane Safety Consensus Standards and Regulations”.

Tree Care Industry Association Spring Convention— “Best Crane Practices”.

NIST — CHINA Workshop—“U.S. Crane Safety Standards and Regulations”.

CON/AG EXPO — “Personnel Lifting— Comparison of Requirements”.

UAW / GM Joint Safety Meeting— “Crane Rigging — Inspection and Use”.

UAW / GM Joint Safety Meeting— “Crane Laws and Consensus Standards”.

Association of Crane and Rigging Professionals— “Crane Capacity Calculations”.

IUE / DELPHI Joint Safety Meeting— “Overhead Crane Regulations and Standards”.
UAW / GM Joint Safety Meeting— “Overhead Crane Inspection and Safety Issues”.
California OSHA Licensed Inspector Meeting—“B30 Standard in California”.

California OSHA Licensed Inspector Meeting— “Crane Operator Qualifications”.
International Telecommunications Conference— “Aerial Device and Crane Safety”.
Association of Crane and Rigging Professionals—“Personnel Lifting Safety”.

Washington Crane Safety Association— “Working near High Voltage Lines”.

Association of Crane and Rigging Professionals— “Working near High Voltage Lines”.
Associated Wire Rope Fabricators— “Synthetic Roundsling Safety Standards”.
Association of General Contractors— “Crane Safety Management”.

Association of General Contractors— “Safety and liability using rented cranes”.

Systems Safety Association— “Lifting Equipment Inspections to Ensure Safety”.
Specialized Carriers and Riggers Association—“Mobile Crane Electrical Safety”.
Associated Wire Rope Fabricators— “Status of Lifting Safety Standards”,

Southern California Industrial Safety Society— “Crane Safety”.

National Safety Council—“Mobile Crane Safety”.

Specialized Carriers and Riggers Association—“Crane Consensus Standards”,

Crane Works, September-October, “Acknowledging the blind lift’.

NASSCO -—‘Shipyard Crane, Rigging and Transportation Operations Safety
Considerations”-“New Hire” and “Engineers in Training” orientation.

USS Turner Joy — “Shipyard Safety Orientation” — New crewmember orientation.
